
Harrison, J., concurring.
The appellant is a private corporation in the city and county of San Francisco, under the management of officers entirely disconnected with the municipal government, and asks for a mandate against the treasurer of said city and county, directing to pay to it a sum of money to which it claims a right *150under the provisions of the act of March 17, 1876. (Stats. 1876, p. 325.) It may be very seriously questioned, whether, under the former constitution, the legislature had the power to compel a donation of the city’s money to a private corporation, or to direct the payment in each month to such corporation of a specific sum of money, irrespective of any benefit or service rendered by it to the city. Without passing upon this question, the act above referred to is, however, obnoxious to the charge of violating section 31 of article IV. of that constitution, within the principles declared in the cases of San Francisco v. Spring Valley W. W., 48 Cal. 493; Waterloo Turnpike Road Co. v. Cole, 51 Cal. 381; Omnibus R. R. Co. v. Raldwin, 57 Cal. 160. The acts of April 7, 1870 (Stats. 1869-70, p. 585), prescribing the powers and duties of the officers of the appellant, which it claims affords the consideration for which it was authorized to receive the money directed to be paid under the act of 1876, was clearly without the power of the legislature to enact. The legislature had no power to confer such special privileges upon any corporation, or to pass any special act conferring authority upon it, or prescribing the powers and duties of its officers. The attempt by these acts to impose any duty or obligation upon the plaintiff was without the constitutional authority of the legislature, and the plaintiff, by virtue of said acts, neither acquired any right nor became subject to any duty.
The provisions of section 10 of the act of March 5, 1889 (Stats. 1889, p. 62), that all fines and forfeitures imposed by the police court shall be paid into the treasury of the city and county of San Francisco, by the clerk thereof, is in direct harmony with section 16 of article XI. of the present constitution, which directs all municipal moneys to be paid to the treasurer, and operates as a direct repeal of that portion of the act of 1876, which authorized the clerk of the police court to pay certain moneys to the appellant.
By bringing this action against the treasurer, the appellant impliedly admits that the act of 1876 is repealed so *151far as it directs the payment to it by the clerk of the fines collected by him, but it contends that the other portion of the act is left in force. Inasmuch, however, as under the provision of the constitution above referred to the legislature could not have authorized the payment of those fines to any other officer than the treasurer of the city and county, it must be held that the entire act is repealed, even if it had any validity when originally enacted. After the money has once been received into the treasury, the treasurer is not authorized to pay out any portion thereof, except as authorized by law, and after the demand therefor shall have been duly audited. Section 82 of the Consolidation Act provides that “ no payment can be made from the treasury or out of the public funds of said city and county, unless the same be specifically authorized by this act, nor unless the demand which is paid be duly audited, as in this act provided, and that must appear upon the face of it.” Section 84 of the same act declares that “ every demand upon the treasury .... must, before it can be paid, be presented to the auditor of the city and county, to be allowed, who shall satisfy himself whether the money is legally due and remains unpaid, and whether the payment thereof from the treasury of the city and county is authorized by law, and out of what fund. .... No demand can be approved, allowed, audited, or paid, unless it specify each several item, date, and value composing it, and refer to the law by title, date, and section authorizing the same.” It is not alleged by the appellant that the claim which it asks that the treasurer be directed to pay was in any respect audited, as above provided.
The provision in section 10 of the act of 1889, directing the clerk of the police court to pay these moneys into the treasury,is not the creation of any new office, or the conferring of any additional powers upon an existing officer, but a mere direction to him for the disposition of the moneys which he may receive. Nor did the provisions of the act of 187 6, even if that act was constitutional, create a contract between the appellant and *152the city, or give to the appellant any rights or privileges which could not at any time thereafter be revoked by the legislature. It was but an act of legislation, subject to repeal at the will of the body which enacted it.
For these reasons, as well as for those contained in the opinion of Mr. Justice Sharpstein, the judgment should he affirmed.
